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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

MONIQUE MURRAY, et al.
Plaintiffs,
y No. 1:16-cv-8072 (PEC)

CITY OF NEW YORK, NEW YORK,

Defendant.

 

AGREED ORDER OF DISMISSAL OF COUNTS I-IV WITH PREJUDICE

This case having come before the Court upon the joint request of Plaintiffs and
Defendant, the Court having been advised of and considered the Settlement Agreement dated
September 9, 2020, entered into by and among Plaintiffs and Defendant that has resulted from
arm’s length settlement negotiations, and upon the joint application of Plaintiffs and Defendant,
by their Attorneys, seeking review and approval by the Court thereof, and based on the entire
record, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

1. The Court approves and adopts the terms of the Settlement Agreement with
respect to Counts II, III, and [V entered into between the Parties to the instant action.
Recognizing that there has been, and there is no admission of liability by Defendant as to these
Counts, the Settlement Agreement reflects a fair, reasonable, and appropriate compromise
deemed in the best interest of the Parties and is in accordance with law.

2, Consistent with the Settlement Agreement, Counts I, ILL, and IV of this action is
hereby dismissed with prejudice. The Court will retain jurisdiction over the parties to the
Agreement for the purpose of interpretation and compliance with the Agreement and this Agreed

Order of Dismissal of Counts [I-IV with Prejudice.

 
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SO ORDERED:

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This ff day of [ , 2020.

 

 

Héfi. P. Kevin Castel, U.S.D.J.

 
